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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA       *
                               *
         v.                    * CRIMINAL NO. TDC-19-200
                               *
ERIC MARQUES,                  *
                               *
         Defendant             *
                               *
                            *******
              WITHDRAWAL OF ATTORNEY APPEARANCE

MADAM CLERK:

       Please strike the appearance of Kristi N. O’Malley as counsel for the government in the

above-captioned case.


                                            Respectfully submitted,

                                            Robert K. Hur
                                            United States Attorney


                                     By: ______/s/_____________________
                                          Kristi N. O’Malley
                                          Assistant United States Attorney
